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    Description

    The U.S. Government confirms that two different RIS actors participated in the intrusion into a
    U.S. political party. The first actor group, known as Advanced Persistent Threat (APT) 29,
    entered into the party’s systems in summer 2015, while the second, known as APT28, entered in
    spring 2016.




      Figure 1: The tactics and techniques used by APT29 and APT 28 to conduct cyber intrusions against target systems


    Both groups have historically targeted government organizations, think tanks, universities, and
    corporations around the world. APT29 has been observed crafting targeted spearphishing
    campaigns leveraging web links to a malicious dropper; once executed, the code delivers Remote
    Access Tools (RATs) and evades detection using a range of techniques. APT28 is known for
    leveraging domains that closely mimic those of targeted organizations and tricking potential
    victims into entering legitimate credentials. APT28 actors relied heavily on shortened URLs in
    their spearphishing email campaigns. Once APT28 and APT29 have access to victims, both
    groups exfiltrate and analyze information to gain intelligence value. These groups use this
    information to craft highly targeted spearphishing campaigns. These actors set up operational
    infrastructure to obfuscate their source infrastructure, host domains and malware for targeting
    organizations, establish command and control nodes, and harvest credentials and other valuable
    information from their targets.

    In summer 2015, an APT29 spearphishing campaign directed emails containing a malicious link
    to over 1,000 recipients, including multiple U.S. Government victims. APT29 used legitimate


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    domains, to include domains associated with U.S. organizations and educational institutions, to
    host malware and send spearphishing emails. In the course of that campaign, APT29 successfully
    compromised a U.S. political party. At least one targeted individual activated links to malware
    hosted on operational infrastructure of opened attachments containing malware. APT29
    delivered malware to the political party’s systems, established persistence, escalated privileges,
    enumerated active directory accounts, and exfiltrated email from several accounts through
    encrypted connections back through operational infrastructure.

    In spring 2016, APT28 compromised the same political party, again via targeted spearphishing.
    This time, the spearphishing email tricked recipients into changing their passwords through a
    fake webmail domain hosted on APT28 operational infrastructure. Using the harvested
    credentials, APT28 was able to gain access and steal content, likely leading to the exfiltration of
    information from multiple senior party members. The U.S. Government assesses that information
    was leaked to the press and publicly disclosed.




                            Figure 2: APT28's Use of Spearphishing and Stolen Credentials


    Actors likely associated with RIS are continuing to engage in spearphishing campaigns,
    including one launched as recently as November 2016, just days after the U.S. election.




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    Reported Russian Military and Civilian Intelligence Services (RIS)
                                             Alternate Names
    APT28
    APT29
    Agent.btz
    BlackEnergy V3
    BlackEnergy2 APT
    CakeDuke
    Carberp
    CHOPSTICK
    CloudDuke
    CORESHELL
    CosmicDuke
    COZYBEAR
    COZYCAR
    COZYDUKE
    CrouchingYeti
    DIONIS
    Dragonfly
    Energetic Bear
    EVILTOSS
    Fancy Bear
    GeminiDuke
    GREY CLOUD
    HammerDuke
    HAMMERTOSS
    Havex
    MiniDionis
    MiniDuke
    OLDBAIT
    OnionDuke
    Operation Pawn Storm
    PinchDuke
    Powershell backdoor
    Quedagh
    Sandworm
    SEADADDY
    Seaduke
    SEDKIT
    SEDNIT
    Skipper
    Sofacy
    SOURFACE
    SYNful Knock
    Tiny Baron
    Tsar Team
    twain_64.dll (64-bit X-Agent implant)
    VmUpgradeHelper.exe (X-Tunnel implant)
    Waterbug
    X-Agent



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    Technical Details

    Indicators of Compromise (IOCs)
    IOCs associated with RIS cyber actors are provided within the accompanying .csv and .stix files
    of JAR-16-20296.

    Yara Signature
    rule PAS_TOOL_PHP_WEB_KIT
    {
    meta:
    description = "PAS TOOL PHP WEB KIT FOUND"
    strings:
    $php = "<?php"
    $base64decode = /\='base'\.\(\d+\*\d+\)\.'_de'\.'code'/
    $strreplace = "(str_replace("
    $md5 = ".substr(md5(strrev("
    $gzinflate = "gzinflate"
    $cookie = "_COOKIE"
    $isset = "isset"
    condition:
    (filesize > 20KB and filesize < 22KB) and
    #cookie == 2 and
    #isset == 3 and
    all of them
    }


    Actions to Take Using Indicators
    DHS recommends that network administrators review the IP addresses, file hashes, and Yara
    signature provided and add the IPs to their watchlist to determine whether malicious activity has
    been observed within their organizations. The review of network perimeter netflow or firewall
    logs will assist in determining whether your network has experienced suspicious activity.



    When reviewing network perimeter logs for the IP addresses, organizations may find numerous
    instances of these IPs attempting to connect to their systems. Upon reviewing the traffic from
    these IPs, some traffic may correspond to malicious activity, and some may correspond to
    legitimate activity. Some traffic that may appear legitimate is actually malicious, such as
    vulnerability scanning or browsing of legitimate public facing services (e.g., HTTP, HTTPS,
    FTP). Connections from these IPs may be performing vulnerability scans attempting to identify
    websites that are vulnerable to cross-site scripting (XSS) or Structured Query Language (SQL)
    injection attacks. If scanning identified vulnerable sites, attempts to exploit the vulnerabilities
    may be experienced.


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    Network administrators are encouraged to check their public-facing websites for the malicious
    file hashes. System owners are also advised to run the Yara signature on any system that is
    suspected to have been targeted by RIS actors.

    Threats from IOCs
    Malicious actors may use a variety of methods to interfere with information systems. Some
    methods of attack are listed below. Guidance provided is applicable to many other computer
    networks.

       •      Injection Flaws are broad web application attack techniques that attempt to send
              commands to a browser, database, or other system, allowing a regular user to control
              behavior. The most common example is SQL injection, which subverts the relationship
              between a webpage and its supporting database, typically to obtain information contained
              inside the database. Another form is command injection, where an untrusted user is able
              to send commands to operating systems supporting a web application or database. See the
              United States Computer Emergency Readiness Team (US-CERT) Publication on SQL
              Injection for more information.
       •      Cross-site scripting (XSS) vulnerabilities allow threat actors to insert and execute
              unauthorized code in web applications. Successful XSS attacks on websites can provide
              the attacker unauthorized access. For prevention and mitigation strategies against XSS,
              see US-CERT’s Alert on Compromised Web Servers and Web Shells.
       •      Server vulnerabilities may be exploited to allow unauthorized access to sensitive
              information. An attack against a poorly configured server may allow an adversary access
              to critical information including any websites or databases hosted on the server. See US-
              CERT’s Tip on Website Security for additional information.

    Recommended Mitigations

    Commit to Cybersecurity Best Practices
    A commitment to good cybersecurity and best practices is critical to protecting networks and
    systems. Here are some questions you may want to ask your organization to help prevent and
    mitigate against attacks.

       1. Backups: Do we backup all critical information? Are the backups stored offline? Have
          we tested our ability to revert to backups during an incident?
       2. Risk Analysis: Have we conducted a cybersecurity risk analysis of the organization?
       3. Staff Training: Have we trained staff on cybersecurity best practices?
       4. Vulnerability Scanning & Patching: Have we implemented regular scans of our
          network and systems and appropriate patching of known system vulnerabilities?
       5. Application Whitelisting: Do we allow only approved programs to run on our networks?
       6. Incident Response: Do we have an incident response plan and have we practiced it?



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       7. Business Continuity: Are we able to sustain business operations without access to
          certain systems? For how long? Have we tested this?
       8. Penetration Testing: Have we attempted to hack into our own systems to test the
          security of our systems and our ability to defend against attacks?

    Top Seven Mitigation Strategies
    DHS encourages network administrators to implement the recommendations below, which can
    prevent as many as 85 percent of targeted cyber-attacks. These strategies are common sense to
    many, but DHS continues to see intrusions because organizations fail to use these basic
    measures.

       1. Patch applications and operating systems – Vulnerable applications and operating
          systems are the targets of most attacks. Ensuring these are patched with the latest updates
          greatly reduces the number of exploitable entry points available to an attacker. Use best
          practices when updating software and patches by only downloading updates from
          authenticated vendor sites.
       2. Application whitelisting – Whitelisting is one of the best security strategies because it
          allows only specified programs to run while blocking all others, including malicious
          software.
       3. Restrict administrative privileges – Threat actors are increasingly focused on gaining
          control of legitimate credentials, especially those associated with highly privileged
          accounts. Reduce privileges to only those needed for a user’s duties. Separate
          administrators into privilege tiers with limited access to other tiers.
       4. Network Segmentation and Segregation into Security Zones – Segment networks into
          logical enclaves and restrict host-to-host communications paths. This helps protect
          sensitive information and critical services and limits damage from network perimeter
          breaches.
       5. Input validation – Input validation is a method of sanitizing untrusted user input
          provided by users of a web application, and may prevent many types of web application
          security flaws, such as SQLi, XSS, and command injection.
       6. File Reputation – Tune Anti-Virus file reputation systems to the most aggressive setting
          possible; some products can limit execution to only the highest reputation files, stopping
          a wide range of untrustworthy code from gaining control.
       7. Understanding firewalls – When anyone or anything can access your network at any
          time, your network is more susceptible to being attacked. Firewalls can be configured to
          block data from certain locations (IP whitelisting) or applications while allowing relevant
          and necessary data through.




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    Responding to Unauthorized Access to Networks
    Implement your security incident response and business continuity plan. It may take time
    for your organization’s IT professionals to isolate and remove threats to your systems and restore
    normal operations. Meanwhile, you should take steps to maintain your organization’s essential
    functions according to your business continuity plan. Organizations should maintain and
    regularly test backup plans, disaster recovery plans, and business continuity procedures.

    Contact DHS or law enforcement immediately. We encourage you to contact DHS NCCIC
    (NCCICCustomerService@hq.dhs.gov or 888-282-0870), the FBI through a local field office or
    the FBI’s Cyber Division (CyWatch@ic.fbi.gov or 855-292-3937) to report an intrusion and to
    request incident response resources or technical assistance.

    Detailed Mitigation Strategies

    Protect Against SQL Injection and Other Attacks on Web Services
    Routinely evaluate known and published vulnerabilities, perform software updates and
    technology refreshes periodically, and audit external-facing systems for known Web application
    vulnerabilities. Take steps to harden both Web applications and the servers hosting them to
    reduce the risk of network intrusion via this vector. 1

           •   Use and configure available firewalls to block attacks.
           •   Take steps to further secure Windows systems such as installing and configuring
               Microsoft’s Enhanced Mitigation Experience Toolkit (EMET) and Microsoft AppLocker.
           •   Monitor and remove any unauthorized code present in any www directories.
           •   Disable, discontinue, or disallow the use of Internet Control Message Protocol (ICMP)
               and Simple Network Management Protocol (SNMP) and response to these protocols as
               much as possible.
           •   Remove non-required HTTP verbs from Web servers as typical Web servers and
               applications only require GET, POST, and HEAD.
           •   Where possible, minimize server fingerprinting by configuring Web servers to avoid
               responding with banners identifying the server software and version number.
           •   Secure both the operating system and the application.
           •   Update and patch production servers regularly.
           •   Disable potentially harmful SQL-stored procedure calls.
           •   Sanitize and validate input to ensure that it is properly typed and does not contain
               escaped code.
           •   Consider using type-safe stored procedures and prepared statements.
           •   Perform regular audits of transaction logs for suspicious activity.
           •   Perform penetration testing against Web services.
           •   Ensure error messages are generic and do not expose too much information.

    1
        http://msdn.microsoft.com/en-us/library/ff648653.aspx. Web site last accessed April 11, 2016.


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    Phishing and Spearphishing
       • Implement a Sender Policy Framework (SPF) record for your organization’s Domain
          Name System (DNS) zone file to minimize risks relating to the receipt of spoofed
          messages.
       • Educate users to be suspicious of unsolicited phone calls, social media interactions, or
          email messages from individuals asking about employees or other internal information. If
          an unknown individual claims to be from a legitimate organization, try to verify his or her
          identity directly with the company.
       • Do not provide personal information or information about your organization, including its
          structure or networks, unless you are certain of a person’s authority to have the
          information.
       • Do not reveal personal or financial information in social media or email, and do not
          respond to solicitations for this information. This includes following links sent in email.
       • Pay attention to the URL of a website. Malicious websites may look identical to a
          legitimate site, but the URL often includes a variation in spelling or a different domain
          than the valid website (e.g., .com vs. .net).
       • If you are unsure whether an email request is legitimate, try to verify it by contacting the
          company directly. Do not use contact information provided on a website connected to the
          request; instead, check previous statements for contact information. Information about
          known phishing attacks is also available online from groups such as the Anti-Phishing
          Working Group (http://www.antiphishing.org).
       • Take advantage of anti-phishing features offered by your email client and web browser.
       • Patch all systems for critical vulnerabilities, prioritizing timely patching of software that
          processes Internet data, such as web browsers, browser plugins, and document readers.


    Permissions, Privileges, and Access Controls
       • Reduce privileges to only those needed for a user’s duties.
       • Restrict users’ ability (permissions) to install and run unwanted software applications,
          and apply the principle of “Least Privilege” to all systems and services. Restricting these
          privileges may prevent malware from running or limit its capability to spread through the
          network.
       • Carefully consider the risks before granting administrative rights to users on their own
          machines.
       • Scrub and verify all administrator accounts regularly.
       • Configure Group Policy to restrict all users to only one login session, where possible.
       • Enforce secure network authentication where possible.
       • Instruct administrators to use non-privileged accounts for standard functions such as Web
          browsing or checking Web mail.




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       •   Segment networks into logical enclaves and restrict host-to-host communication paths.
           Containment provided by enclaving also makes incident cleanup significantly less costly.
       •   Configure firewalls to disallow RDP traffic coming from outside of the network
           boundary, except for in specific configurations such as when tunneled through a
           secondary VPN with lower privileges.
       •   Audit existing firewall rules and close all ports that are not explicitly needed for business.
           Specifically, carefully consider which ports should be connecting outbound versus
           inbound.
       •   Enforce a strict lockout policy for network users and closely monitor logs for failed login
           activity. This can be indicative of failed intrusion activity.
       •   If remote access between zones is an unavoidable business need, log and monitor these
           connections closely.
       •   In environments with a high risk of interception or intrusion, organizations should
           consider supplementing password authentication with other forms of authentication such
           as challenge/response or multifactor authentication using biometric or physical tokens.


    Credentials
       • Enforce a tiered administrative model with dedicated administrator workstations and
         separate administrative accounts that are used exclusively for each tier to prevent tools,
         such as Mimikatz, for credential theft from harvesting domain-level credentials.
       • Implement multi-factor authentication (e.g., smart cards) or at minimum ensure users
         choose complex passwords that change regularly.
       • Be aware that some services (e.g., FTP, telnet, and .rlogin) transmit user credentials in
         clear text. Minimize the use of these services where possible or consider more secure
         alternatives.
       • Properly secure password files by making hashed passwords more difficult to acquire.
         Password hashes can be cracked within seconds using freely available tools. Consider
         restricting access to sensitive password hashes by using a shadow password file or
         equivalent on UNIX systems.
       • Replace or modify services so that all user credentials are passed through an encrypted
         channel.
       • Avoid password policies that reduce the overall strength of credentials. Policies to avoid
         include lack of password expiration date, lack of lockout policy, low or disabled
         password complexity requirements, and password history set to zero.
       • Ensure that users are not re-using passwords between zones by setting policies and
         conducting regular audits.
       • Use unique passwords for local accounts for each device.




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    Logging Practices
       • Ensure event logging (applications, events, login activities, security attributes, etc.) is
          turned on or monitored for identification of security issues.
       • Configure network logs to provide enough information to assist in quickly developing an
          accurate determination of a security incident.
       • Upgrade PowerShell to new versions with enhanced logging features and monitor the
          logs to detect usage of PowerShell commands, which are often malware-related.
       • Secure logs, potentially in a centralized location, and protect them from modification.
       • Prepare an incident response plan that can be rapidly implemented in case of a cyber
          intrusion.


    How to Enhance Your Organization’s Cybersecurity Posture
    DHS offers a variety of resources for organizations to help recognize and address their
    cybersecurity risks. Resources include discussion points, steps to start evaluating a cybersecurity
    program, and a list of hands-on resources available to organizations. For a list of services, visit
    https://www.us-cert.gov/ccubedvp. Other resources include:

       •   The Cyber Security Advisors (CSA) program bolsters cybersecurity preparedness, risk
           mitigation, and incident response capabilities of critical infrastructure entities and more
           closely aligns them with the Federal Government. CSAs are DHS personnel assigned to
           districts throughout the country and territories, with at least one advisor in each of the 10
           CSA regions, which mirror the Federal Emergency Management Agency regions. For
           more information, email cyberadvisor@hq.dhs.gov.
       •   Cyber Resilience Review (CRR) is a no-cost, voluntary assessment to evaluate and
           enhance cybersecurity within critical infrastructure sectors, as well as state, local, tribal,
           and territorial governments. The goal of the CRR is to develop an understanding and
           measurement of key cybersecurity capabilities to provide meaningful indicators of an
           entity’s operational resilience and ability to manage cyber risk to critical services during
           normal operations and times of operational stress and crisis. Visit
           https://www.cert.org/resilience/rmm.html to learn more about the CERT Resilience
           Management Model.
       •   Enhanced Cybersecurity Services (ECS) helps critical infrastructure owners and
           operators protect their systems by sharing sensitive and classified cyber threat
           information with Commercial Service Providers (CSPs) and Operational Implementers
           (OIs). CSPs then use the cyber threat information to protect CI customers. OIs use the
           threat information to protect internal networks. For more information, email
           ECS_Program@hq.dhs.gov.
       •   The Cybersecurity Information Sharing and Collaboration Program (CISCP) is a
           voluntary information-sharing and collaboration program between and among critical




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           infrastructure partners and the Federal Government. For more information, email
           CISCP@us-cert.gov.
       •   The Automated Indicator Sharing (AIS) initiative is a DHS effort to create a system
           where as soon as a company or federal agency observes an attempted compromise, the
           indicator will be shared in real time with all of our partners, protecting them from that
           particular threat. That means adversaries can only use an attack once, which increases
           their costs and ultimately reduces the prevalence of cyber-attacks. While AIS will not
           eliminate sophisticated cyber threats, it will allow companies and federal agencies to
           concentrate more on them by clearing away less sophisticated attacks.

           AIS participants connect to a DHS-managed system in the NCCIC that allows
           bidirectional sharing of cyber threat indicators. A server housed at each participant’s
           location allows each to exchange indicators with the NCCIC. Participants will not only
           receive DHS-developed indicators, but can share indicators they have observed in their
           own network defense efforts, which DHS will then share with all AIS participants. For
           more information, visit https://www.dhs.gov/ais.
       •   The Cybersecurity Framework (Framework), developed by the National Institute of
           Standards and Technology (NIST) in collaboration with the public and private sectors, is
           a tool that can improve the cybersecurity readiness of entities. The Framework enables
           entities, regardless of size, degree of cyber risk, or cyber sophistication, to apply
           principles and best practices of risk management to improve the security and resiliency of
           critical infrastructure. The Framework provides standards, guidelines, and practices that
           are working effectively today. It consists of three parts—the Framework Core, the
           Framework Profile, and Framework Implementation Tiers—and emphasizes five
           functions: Identify, Protect, Detect, Respond, and Recover. Use of the Framework is
           strictly voluntary. For more information, visit https://www.nist.gov/cyberframework or
           email cyberframework@nist.gov.




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    Contact Information

    Recipients of this report are encouraged to contribute any additional information that they may
    have related to this threat. Include the JAR reference number (JAR-16-20296A) in the subject
    line of all email correspondence. For any questions related to this report, please contact NCCIC
    or the FBI.

    NCCIC:
    Phone: +1-888-282-0870
    Email: NCCICCustomerService@hq.dhs.gov

    FBI:
    Phone: +1-855-292-3937
    Email: cywatch@ic.fbi.gov

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    few short questions about this product at the following URL:
    https://www.us-cert.gov/forms/feedback.




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